Case 2:Ol-cr-20223-SHI\/| Document 67 Filed 04/22/05 Page 1 of 3 Page|D 90

IN THE UNITED sTATES DISTRICT CO¥IE.{~:‘§€:-.€'n__A
FoR THE wESTERN DISTRICT oF TENNESSEE

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UBAPRZE AH Sr{S
UNITED STATES oF AMERICA CL§YALQ;H§SF§T
W-D.GPTH,M§MPHE
Plaintiff,
v. cR. No. 01~20223-Ma

EUREKA HARWELL,

Defendant.

 

ORDER TO SURRENDER

 

The defendant, Eureka Harwell, having been sentenced in the above
case to the custody of the Bureau of Prisons and having been granted
leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau of Prisons by reporting to Federal
Correctional Institution Greenville (Satellite Camp), 100 U.S. Route 40,
P.O. Box 4000, Greenville, Illinois 66246, no later than 2:00 p.m. on
Wednesday, May 18, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the
defendant shall report immediately to the Office of the Clerk, Federal
Office Building, 167 N. Main Street, Room 242, Memphis, Tennessee 38103
to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered to the facility named above.

 

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ENTERED this the day of April, 2005.
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE
This document entered on the docket sheet In compliance k 7

with Rule 58 and!or 79(a) FHCP on k

Case 2:01-cr-20223-SH|\/| Document 67 Filed 04/22/05 Page 2 of 3 Page|D 91

(Ol-ZOZZZ-Ma)

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:0]-CR-20223 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
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Ste. 200

Memphis7 TN 38103

Jennifer lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

